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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
JEREMY TRAVIS PAIGE PLAINTIFF
VS. CIVIL ACTION NO. 3:20-cv-197-FKB
RANKIN COUNTY;
BRETT McALPIN; and
SHERIFF BRYAN BAILEY DEFENDANTS
OMNIBUS ORDER

This is an action pursuant to 42 U.S.C. $1983 brought by J eremy Travis Paige, who was a
pretrial detainee at the Rankin County Detention Center (““RCDC’”) at the time of the subject
incident giving rise to this legal action. The Court held an omnibus hearing in this matter on
September 30, 2020. During the omnibus hearing, the undersigned questioned Plaintiff concerning
his claims and addressed other case management issues. Having considered Plaintiff's testimony
at the omnibus hearing, the Court finds and orders as follows.

Plaintiffs claim, as clarified at the omnibus hearing, is that between the evening hours of
August 1, 2018, and the early morning hours of August 2, 2018, he was physically assaulted by
law enforcement officers. [26] at 7-11. Plaintiff alleges that sometime between 6:30 p.m. and
7:00 p.m., he was stopped at a red light when Officer Brett McAlpin “snatched [him] out by the
‘window of the car and they [officers] started beating {him].” Jd. at 8-9. According to Plaintiff,
following the beating near the traffic light, he was handcuffed and somehow taken to his home,
where narcotics officers dragged him through his yard and into his home and beat him until
approximately 1:30 a.m., when he arrived at the jail. Jd. at 9-11.' Plaintiff's recollection is that

he received no medical care after he arrived at the jail; rather, he was cleaned for his mugshot. Jd.

 

‘In his Complaint [1], Plaintiff also alleged that while at his home, officers gave him a phone and told
him to make a drug deal, but he texted his oldest son’s mother instead. [1] at 5.

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at 12-13. The Court construes Plaintiff's cause of action as a claim that Defendants violated his
Fourteenth Amendment due process rights and his Fourth Amendment right to be free from
excessive force during an arrest.

At the omnibus hearing, the parties consented to magistrate judge jurisdiction. /d. at 5.
The Court also addressed document production and ordered Defendants to produce copies of
Plaintiff's inmate records and medical records. /d. at 14. Defense counsel indicated that copies
of investigative records pertaining to Plaintiff's criminal charges associated with the same incident
will be available for production after Plaintiff's criminal trial. Jd. Further, the Court ordered
Plaintiff to complete a medical authorization form allowing Defendants to obtain his medical
records. Id.

Discovery shall be limited to 25 interrogatories, 25 requests for production, and 25 requests
for admission. All discovery must be completed by June 30, 2021. Any dispositive motions must
be filed by July 14, 2021.

The Court will set this matter for trial after it has ruled on any dispositive motions, if
necessary.

SO ORDERED, this the 9th day of February, 2021.

/s/ F. Keith Ball
UNITED STATES MAGISTRATE JUDGE
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Other Orders/Judgments
3:20-cv-00197-FKB Paige v. Rankin County etal

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USS. District Court
Southern District of Mississippi
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Case Number: 3:20-cv-00197-FKB
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Docket Text:
OMNIBUS ORDER. Signed by Magistrate Judge F. Keith Ball on 2/9/2021. (dew)

3:20-cv-00197-FKB Notice has been electronically mailed to:
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Jeremy Travis Paige
R5845

Rankin County Jail
221 N. Timber Street
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